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Attorneys for Plaintiff
1049 Market Street, LLC

1049 MARKET STREET, LLC, a California
Lirnited Liability Company,

Plaintiffs,
vs.

CITY AND COUNTY OF SAN
FRANCISCO, BOARD OF SUPERVISORS
OF THE CITY AND COUNTY OF SAN
FRANCISCO, PLANNING DEPARTMENT
OF THE CITY AND COUNTY OF SAN
FRANCISCO, SAN FRANCISCO

. DEPARTMENT OF BUILDING

INSPECTION, SAN FRANCISCO
BUILDING INSPECTION COMMISSION,
SAN FRANCISCO BOARD OF APPEALS,
and DOES 1~50,

Defendants.

 

 

4:15~cV-02075-JSW
Joint Case Update

 

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UNITED STATES DISTRICT C()URT
N()RTHERN DISTRICT OF CALIF()RNIA
()AKLAND DIVISION

Case Number: 4:15-cv-02075~JSW

JOINT CASE UPDATE

 

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Pursuant to this Court’s Order, dated November 7, 2016, the parties jointly submit this
update as to the progress of the related State Court Actions, 1049 Mcirket Street, LLC v. City
and County of San Francisco, et al., Case No.CGC-15~545950 (the “First Writ Petition”) and
1049 Market Street, LLC v. City and Counly of San Francz`sco, et al., Case No.CGC-15-547161
(the “First Damages Action”).

ln the First Writ Petition, the Court issued an order on April lZ, 2016, granting the Writ
of Administrative Mandamus, in part; denying the Writ of Mandate; and disposing of several
evidentiary motions. On May 2, 2016, Plaintiff filed a motion for reconsideration and notice of
intention to file a motion for a new trial. On June 13, 2016, the Court granted the motion for a
new trial in part and denied the motion for reconsideration Also on June l3, 2016, the Court
issued an amended order, granting the Writ of Administrative Mandamus, in part and denying
the Writ of Mandate. On June 7, 2016, and July 8, 2016, Plaintiff appealed the First Writ
Petition in the California Court of Appeal, First District, Case No. Al487l6.

ln the First Damages Action, the City filed a motion for judgment on the pleadings
(MJGP), which was heard on March 30, 2017. Plaintiff filed a motion for leave to file a first
amended and supplemental complaint (FASC), which was also heard on March 30, 2017. Gn
April 4, 2017, the Court granted in part and denied in part the City’s l\/IJOP, and granted
Plaintist motion for leave to file a FASC. On April 13, 2017, Plaintiff` filed its FASC. On
May 12, 2017, the City filed an answer to the FASC. ()n l\/Iay l5, 2017, the City filed a
petition for writ of mandate in the California Court of Appeal, First District, in Case No.
A151274, challenging the portion of the trial court’s order denying its MJOP. On May 25,
2017, Plaintiff filed a preliminary opposition to the petition for writ of mandate. On June 15,
2017, the First District Court of Appeal issued a “suggestive Palma notice” (Brown, Winfiela’
& Canzonerz', Inc. v. Superior Court (2010) 47 Cal.4th 1233) with regards the Court’s order on
the MJOP. On August 2, 2017, in response to the suggestive Palma notice, the Court vacated
its previous order denying the l\/IJOP in the First Damages Action and granted the l\/IJOP in a

new order.

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On May 23, 2016, Plaintiff filed another writ petition in State Court against the City in
1049 Market Street, LLC v, City and Cou_nty of San Francisco, et al., case no. CPF-16-515046
(“Second Writ Petition”), challenging the City’s enactment of ordinances nos. 23-16 and 33-16
(the “Permanent Controls”). On July ll, 2017, the Court denied Plaintiff’s CEQA and facial
challenges in the Second Writ Petition, and held that Plaintiff`s as-applied takings claim and
as-applied Ellis Act claim were unripe for review. Plaintiff appealed this order, which is now
pending in the First District Court of Appeal, Case No. A151993.

On June 30, 2017, Plaintiff filed a third Writ petition against the City in State Court,
Case No. CPF-l7-515754 (“Third Writ Petition”), challenging the revocation of its permit
pursuant to the Permanent Controls. Plaintiff also simultaneously filed a second action for
damages against the City in State Court, Case No. CGC-17~559890 (“Second Damages
Action”) for inverse condemnation and violation of its civil rights. On July 5, 2017, Plaintiff
filed notices of related cases in the First Damages Action, the Second Damages Action, and the
Third Writ Petition.

On August 30, 2017, and again on November 7, 2017, the parties entered into a
stipulated hiatus of litigation

In January of 2018, after the hiatus had lifted, Plaintiff moved for a continuance of the
trial date in the First Damages Action and consolidation of the Second Damages Action with the
First Damages Action (“Consolidated Damages Action”). Both motions were granted, and the
Consolidated Damages Action is set for trial on November 5, 2018.

Gn January 24, 2018, the Appellate Court dismissed the CEQA claim in the First Writ

Petition as moot and held the following as to the remaining claims:

As to the remaining claims, we affirm the trial court's judgment although we
do not adopt all of its reasoning Specifically, we conclude 1049 Market's
taking claims as to the initial suspension and delay are barred for failure to
exhaust administrative remedies. And to the extent 1049 Market's taking
claims are based on the City's later conduct, those claims are not ripe. We
additionally conclude there is no merit to 1049 Market's vested right claim.

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Plaintiff then filed a motion to stay the Consolidated Damages Action in an effort to
ripen its takings claim. The City filed a motion for judgment on the pleadings in the
Consolidated Damages Action based on the Appellate Court’s suggestive Palrna Notice and its
decision in the First Writ Petition.

After these filings, the parties engaged in settlement discussions and took these motions
off calendar, without prejudice The parties are still presently in settlement discussions, and

litigation has been'put on hold. -

Respectfully Submitted,

Dated: October 31, 2018 ZACKS, FREEDMAN & PATTERS()N, PC

/s/ Emilv L. Brough
EMILY L. BROUGH
Counsel for Plaintiff
1049 MARKET STREET, LLC.

Dated: ()ctober 31, 2018 DENNIS J. HERRERA
City Attorney
KRISTEN A. JENSEN
Deputy City Attorney

By: /s/ Kristen A. Jensen
KRISTEN A. JENSEN

Counsel for Defendant

City and County of San Francisco

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CERTIFICATION OF SERVICE

The undersigned hereby certifies that on October 31, 2018, all counsel of record who
are deemed to have consented to electronic service are being served with a copy of this

document via the Court’s CM/ECF system.

By: /s/ Emilv L. Brough
EMILY L. BROUGH

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